Case 3:51-cv-01247-JO-SBC Document 1-5 Filed 01/25/51 PagelD.216 Page 1of1

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Mapped, edited, and published by the Geological Survey © Irrigation or camp supply SCALE 1:24000 , Sheet Three(3) of Eight (8) %,
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APPROXIMATE MEAN THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS MORRO H1l LL, CALIF.
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Dashed land lines indicate approximate location

TRUE NORTH

Land lines within Santa Margarita Y Las
Flores grant were established by private survey.

